          Case 8:22-cv-00396-VMC-JSS
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                                               PM



                     TN   THE COUNTY COURT OF THE FIFTII JUDICIAL CIRCUIT
                              IN AND FOR HERNAIIDO COUNTY, FLORIDA
                                      SMALL CLAIMS DI\TISION

         Mark Cruz,

                  Plaintffi
          v.                                                 Case No.:


         Helvey & Associates, Inc.,
                                                                       JURY TRIAL DEMA}IDED
                  Defendant.


                                   COMPLAINT AIID JURY TRIAL DEMAND

                COMES NOW the Plaintiff,        Mark Cruz, ("Mr. Cruz"), by and through his afforneys,
        Seraph Legal, P.A., and complains of the Defendant, Helvey            &   Associates, Inc. ("Helvey"),

        stating as follows:


                                          PRELIMINARY STATEMENT

                1.        This is an action for damages not exceeding $8,000.00, brought by Mr. Cruz

        against Helvey for violations of the   Florida Consumer Collecfion Practices Act,Floida Statute

        $ 559.55, et seq. ("FCCPA"), the Fair Debt Collection Practices Act,15 U.S.C. E 1692, et seq.

        ("FDCPA"), and     the   Fair Credit Reporting Act,15 U.S.C. $ 1681,       et seq.   (..FCRA,,;.

                                          JURISDICTION AI\D VENUE

               2.         Jurisdiction arises under the FDCPA, 15 U.S.C. $ 1692k(d), the FCRA, l5 U.S.C.

        $ 168lp, the FCCPA, Florida statute S 559.77, and Florida Statute $ 34.01.

               3.      Helvey is subject to the provisions of the FDCPA, the FCRA, and the FCCpA, and

        to the jurisdiction of this court, pursuant to Florida Statute 49.193.
                                                                      $

               4.      Venue is proper in Hemando County, Florida, pursuant to Florida Statute 47.051,
                                                                                              $

        because the acts complained    of were committed   and I   or caused by the Defendant therein.


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                                              PARTIES

                                              Mr. Cruz

        5.      Mr. Cruz is a natural person residing in Spring Hill, Hernando County, Florida.

        6.      Mr. cruz is a consumer as defined by the FCRA, 15 u.s.c. g 1681a(c), the

FDCPA, 15 U.S.C. g 1692a(3), and the FCCPA, Florida Statute $ 559.55(8).


                                               Helvev

        7   .   Helvey is an Indiana corporation with   a   principal business address of 1015-1029 E.

Center St., Warsawr IN 46580.

        8.      Helvey's Indiana registered agent is Brent D. Byers, 3804 S. Etaine Dr., Warsaw,

IN 46580.

        9.      Helvey is a Debt Collector within the meaning of the FCCPA, Florida Statute

$559.55(7), and the FDCPA, 15 U.S.C. $ 1692a(6), in that it uses an instrumentality of commerce,

including postal mail and the intemet, interstate and within the State of Florida, for its business,

the principal purpose of which is the collection of debts, and/or it regularly collects or atternpts to

collect, directly or indirectly, debts owed or due or asserted to be owed or due another.

        10.     Helvey is licensed as a Consumer Collection Agency ("CCA") by the Florida

Office of Financial Regulation, holding license number CCA0900489.

        11.     As licensed a CCA, Helvey knows, or should know, the requireraents of the

FDCPA, the FCCPA, and the FCRA.



                                  FACTUAL ALLEGATIONS

        12.     Sometime in August 2021, Mr. Cruz allegedly incurred a debt in the amount           of
$183 to Duke Energy Florida    ("Duke") for utility services (the "Debf').



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        13.    The alleged Debt arose from services which wereprimarily for family, personal, or

household pu{)oses, specifically for utility services to Mr. Cruz's home, and therefore meets the

definitions of Debt under the FDCPA, 15 U.S.C. g1692a(5), and the FCCpA, Florida Statute

$sse.ss(6).

        14.    Around October 202l,Duke assigned, or otherwise transferred the Debt to Helvey.

        15.    However, once Mr. Cruz learned of the Debt, he immediately contacted Duke and

paid the $183 balance to Duke directly.

        16.    In or around December 2021, Helvey began reporting the Debt, monthly, to the

major Consumer Credit Reporting Agencies ("CRAs"), including, Trans Union and Equifax. SEE

PLAINTIFtr''S EXHIBITS A and B.


                                Mr. Cruz's Dispute of the Debt

       17.     In or around December 202T, Mr. Cruz requested and obtained a copy of his

consumer credit disclosures from Trans Union and Equifax.

       18.     Mr. Cruz saw the Helvey tradeline reporting to his credit, and on that day, he

disputed Helvey's reports of the account to both rrans union and Equifax.

       19.    Trans Union and Equifax, upon receipt       of Mr. Cruz's dispute, sent Helvey   an

Automated Consumer Dispute Verification ("ACDV") request form through an online platform

known as e-OSCAR, asking Helvey to make a reasonable investigation into the dispute.

       20-    Helvey responded to the ACDVs from Trans Union and Equifax, verifring that its

reports were accurate and confirming the data. SEE PLAINTIFF,S EXHIBITS C and D.

       21.    In its ACDV   responses     to the CRAs, Helvey failed to update its reports of the

account to reflect that the account was disputed by Mr. Cruz, even though Helvey knew, by virtue

of having received multiple disputes from the CRAs, that Mr. Cruz disputed the Debt.


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     22.       The failure to update a report to indicate thatadebt is disputed can, in and of itself,

violate the FCRA. See Saunders v. Branclt Banking and Trust Co. of I/A, 526 F.3d 142 (4th Cir.

2008).

     23.       If a furnisher like Helvey   chooses to report disputed information as verified, "ttle

question of whether the furnisher behaved reasonably will turn on whether the fumisher acquired

sufficient evidence to support the conclusion that the information was true." Hinkle v. Midland

Credit Management, Inc. (l lth Cir.) 827 F.3d 1295 (2016)

     24.       Helvey could have easily inquired with its client, Duke Energy, to verifu        if   the

account had been paid, and would have imposed a minimal burden on Helvey.

      25.      However, Helvey failed to make any such inquiry with Duke Energy.

      26.      Helvey thus failed to conduct a reasonable investigation into Mr. Cruz's dispute.

No reasonable investigation could have determined that the Debt was owed by Mr. Cruz and

undisputed by Mr. Cruz.

         27.   A debt collector who becomes aware that      a debt is disputed is required to include

notice of dispute in all subsequent communications in connection with the collection of that debt.

See 15 U.S.C. $ 1692e(8).

         28.   The tradeline thus appeared on Mr. Cruz's credit reports as a "non-disputed" debt.

         29.   Helvey's failure to disclose that the Debt was disputed materially damaged Mr.

Cruz's credit scores.

         30.   The failure to properly report a disputed debt as disputed creates a concrete injury-

in-fact because the failure to disclose this information affects credit scores, meaning Mr. Cruz

suffered "a real risk of financial harm caused by an inaccurate credit rating." Evans v. Portfolio

Recovery Associates,8S9 F. 3d337,345 Qn Cir 2018).



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        31.       Trans Union and Equifax included Helvey's errant credit information in reports               it
sold to creditors, or potential creditors, of Mr. Cruz.

        32.       As   a result,   Mr. Cruz has suffered damages including loss of credit and damage to

his reputation.

        33.       Mr. Cruz has hired the aforementioned law firm to represent him in this matter and

has assigned his right to fees and costs to such firm.

                                     COUNT I
                  HELVEY'S VIOLATIONS OF THE FDCPA                   - 15 U.S.C. Q 1692C
        34.       Mr. Cruz adopts and incorporates paragraphs I      -   33 as   if fully   stated herein.

        35.       Helvey violated 15 U.S.C. $ 1692e when Helvey made false and/or misleading

representations    in an attempt to collect a debt, when it reported the Debt to Trans Union                 and

Equifax, indicating that a disputed debt was not disputed, and that the Debt was unpaid and

remained owed to Duke Energy, when Mr. Cruz had already settled the Debt.

       36.        Helvey's actions render it liable for the above-stated violations of the FDCPA, and

Mr. Cruz is therefore entitled to statutory damages up to $1,000.00 as well as other relief.

                                                  COT]NT   II
            HEVLEY'S VIOLATIONS OF THE FDCPA                       - 15 U.S.C. I        1692e(10)

       37.        Mr. Cruz adopts and incorporates paragraphs I      -   33 as   if fully   stated herein.

       38.        Helvey violated 15 U.S.C. $ 1692e(10) when Helvey made false andlor misleading

representations in an attempt to collect the Debt, when it reported the Debt to Trans Union and

Equifax, indicating that a disputed debt was not disputed, and that the Debt was unpaid and

remained owed to Duke Energy, when Mr. Cruz had already settled the Debt.

       39.        Helvey's actions render it liable for the above-stated violations of the FDCPA, and

Mr. Cruz is therefore entitled to statutory damages up to $1,000.00        as    well   as other   relief.



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                                 COUNT III
             HELVEY'S VIOLATIONS OF TIIE FDCPA                          - 15 U.S.C. I           1692e(8)

        40.    Mr. Cruz adopts and incorporates paragraphs              1   -   33 as if fully stated herein.

        41.    Helvey violated 15 U.S.C.       $ 1692e(8) when Helvey communicated credit
information known to be false, specifically that the Debt was not disputed, when it was disputed,

and that the Debt was unpaid and remained owed to Duke Energy, when Mr. Cruz had already

settled the Debt.

       42.     Helvey violated 15 U.S.C.       $   1692e(S) when Helvey communicated cyedit

information which was known to be disputed, or which should have been known to be disputed,

without disclosure of dispute, in its reports to Trans Union and Equifax in January 2022.

        43.    Helvey's actions render it liable for the above-stated violations of the FDCPA, and

Mr. Cruz is therefore entitled to statutory damages up to $1,000.00 as well as other relief.

                                 COUNT IV
           IIELVEY'S VIOLATIONS OF TIIE FDCPA                       - 15 U.S.C. I              1692e(2Xa)

        44.    Mr. Cruz adopts and incorporates paragraphs              1   -   33 as if fully stated herein.

        45.    Helvey violated 15 U.S.C. $ 1692e(2)(a) when Helvey made false and misleading

representations about the character, amount and legal'status of the Debt when                       it falsely claimed
that the Debt was not disputed, when it was disputed, and that the Debt was unpaid and remained

owed to Duke Energy, when Mr. Cruz had already settled the Debt.

        46.    Helvey's actions render it liable for the above-stated violations of the FDCPA, and

Mr. Cruz is therefore entitled to statutory damages up to $1,000.00                as   well   as other   relief.

                                COUNT V
           HELVEY'S VIOLATIONS OF THE FCCPA                         -   FLA. STAT. 559.72(0

       47.     Mr. Cruz incorporates paragraphs    1   -   33 as   if fully      restated herein.




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          48.   Helvey violated Florida Statute      $   559.72(6) when        it   communicated credit

information known to be disputed without disclosure of dispute, in its reports to Trans Union and

Equifax, and it made such reports willfully and with malice, to harm Mr. Cruz's ability to obtain

new credit.

          49.   Helvey violated Florida Statute $ 559.72(9) when it asserted a debt was legitimate

when it had already been paid and was, thus, no longer a'odebt.,,

          50.   Helvey's actions were willful, intentional, and done with malice.

          51.   'oMalice can be established by evidence showing the defendant made a false

statement 'with knowledge that it was false or with reckless disregard of whether it was false or

ttot."' Longv. Pendrick Capital Partners II, LLC,CaseNo.: GJH-17-1955 (D. Md. Mar. 18,2019)

(quoting New York Times v. Sullivan,376 U.S. 254,270-80 (1964).

          52.   By its conduct, Helvey is liable for the above-stated violation of the FCCPA.

                                  COUNT VI
              HELVEY's vToLATIoNS oF THE FCRA                - t5 u.s.c. s 1681s-2(b)
          53.   Mr. Cruz adopts and incorporates paragraphs I   -   33 as   if fully   stated herein.

          54.   Helvey violated 15 U.S.C. $ 1681s-2(b) when it failed to update, modifii, or correct

its reports after receiving notice of disputes from a CRA. Specifically, Helvey failed to label the

Debt as disputed, despite Mr. Cruz never withdrawing his dispute, and when it failed to update,

correct or delete information about the Debt being unpaid, as it had been paid directly to Duke

Energy.

       55.      The information Helvey reported and verified was clearly inaccurate, and indeed

no reasonable investigations were actually conducted by the Defendant.




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        56.     Helvey's conduct was willful and intentional, or, alternately, was done with         a

reckless disregard for its duties under the FCRA to make reasonable investigations, and its policies

could reasonably be foreseen to cause harm to Mr. Cruz.

        57.    As a result of its conduct, Helvey is liable to Mr. Cruz pursuant to the FCRA for

statutory damages of up to $1,000 for each occurrence, and other relief.

        58.    Helvey's above actions caused Mr. Cruz to suffer damages to his credit report and

scores, as well as ernotional dishess in having to deal with an account which he disputed and was

not marked as such.

                                      PRAYER FOR RELIEF

       WHEREFORE, Mr. Cruz respectfully requests this Honorable Court enter judgment in

his favor, and against Helvey, for:

       a.      Statutory damages of $1,000.00, pursuant to l5 U.S.C. g 1692k(a)(2XA);

       b.      Statutory damages of $1,000.00, pursuant to Florida Statute g 559.77(2);

       c.      Statutory damages of $2,000.00, pursuant to l5 U.S.C. g l68ln(a)(lXA);

       d.      Actual damages, including damages for loss of credit opportunities, damage to

credit scores, and for emotional distress;

       e.      Injunctive relief prohibiting Helvey from trying to collect the Debt from Mr. Cruz

utilizing any methods prohibited by law;

       a.      Reasonable costs and attorneys' fees pursuant   to 15 U.S.C. $ 1692k(a)(3), Florida

               Statute g 559.77(2), 15 U.S.C. g 1681n(a)(3), and I or t5   u.s.c.   g 1681o(a)(2); and,

       f.      Such other relief that this Court deems just and proper.




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                                         DEMAIID FOR JURY TRIAL

               Mr. Cruz hereby demands   a   jury tial on all issues   so triable.

         Respectfully submitted on January 12,2022,by:

                                                                         SERAPII LEGAL, P. A.

                                                                         lsl Brandon D. Morqan
                                                                         Brandon D. Morgan, Esq.
                                                                         Florida Bar Number: I 01 5954
                                                                         BMorgan@S eraphlegal. com

                                                                         lsl Thomas M. Bonan
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                                                                         T*pu, FL 33605
                                                                         Tel: 813-567-1230
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      ATTACIIED EXHIBIT LIST
      A     Mr. Cruz's Trans Union Consumer Disclosure, January g,2022,Helvey Tradeline -
            Excerpt
      B     Mr. Cruz's Equifax Consumer Disclosure, January 9,2\2z,Helvey Tradeline - Excerpt
      C     Trans Union's Dispute Results to Mr. Cruz,January 5,2\22,Helvey Tradeline - Excerpt
      D     Equifa:r's Dispute Results to Mr. Crvz,January 8,2o22,Helvey Tradeline - Excerpt




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                                                    PLAINTNIFF'S EXHIBIT A
              Mr. Cruz's Trans Union Consumer Disclosure, Janu aty 912022
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                                             PLAINTIFF'S EXHIBIT B
                Mr. Cruz's Equifax Consuiner Disclosure, January 912022
                                              Helvey Tradeline - Excerpt

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                      PLAINTIFF'S EXIIIBIT C
         Trans Union's Dispute Results to Mr. CruzrJanuary                                                          SrZ0Z2
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                                      PLAINTIFF'S EXHIBIT D
                          Equifax's Dispute Results to Mr. CrazrJanuary                                                                       912022
                                                              Helvey Tradeline - Excerpt




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